             Case 2:08-cr-00512-JAM Document 27 Filed 12/12/08 Page 1 of 3


1    DANIEL J. BRODERICK, #89424
     Federal Defender
2    DENNIS S. WAKS, BAR #142581
     Supervising Assistant Federal Defender
3    801 I Street, 3rd Floor
     Sacramento, California 95814
4    Telephone: (916) 498-5700
5    Attorney for Defendant
     SOMACHY KEO
6

7
                      IN THE UNITED STATES DISTRICT COURT
8
                     FOR THE EASTERN DISTRICT OF CALIFORNIA
9

10
     UNITED STATES OF AMERICA,          )   CR.S. 08-512-JAM
11                                      )
                      Plaintiff,        )   STIPULATION AND ORDER
12                                      )   TO EXTEND TIME FOR STATUS
            v.                          )   CONFERENCE AND EXCLUDE TIME
13                                      )
     SARET NOSAR, et al.,               )   DATE: January 27, 2009
14                                      )   Time: 9:30 a.m.
                    Defendant.          )   Judge: John A. Mendez
15   ______________________________
16

17          Defendant SOMACHY KEO by and through his counsel, DENNIS S.
18   WAKS, Supervising Assistant Federal Defender, MICHAEL D. LONG,
19   attorney for SARET NOSAR, EDWARD M. ROBINSON, attorney for KANARY
20   KHIN, ROBERT S. ERNENWEIN, attorney for SEAN EANG, CLARENCE
21   EMMETT MAHLE, attorney for PANG YEAN and the United States
22   Government, by and through its counsel, BENJAMIN WAGNER,
23   Assistant United States Attorney, hereby stipulate that the
24   status conference set for December 16, 2008 be rescheduled for a
25   status conference hearing on Tuesday, January 27, 2009 at 9:30
26   a.m.
27          This continuance is being requested because defense counsel
28   requires additional time to review discovery and to conduct

                                            1
              Case 2:08-cr-00512-JAM Document 27 Filed 12/12/08 Page 2 of 3


1    further investigation on this case.         Defense counsel has received
2    661 pages of discovery so far.
3         Speedy trial time is to be excluded from the date of this
4    order through the date of the status conference hearing set for
5    January 27, 2009 pursuant to 18 U.S.C. § 3161 (h)(8)(B)(iv),
6    [reasonable time to prepare] (Local Code T4).
7    DATED: December 10, 2008
8                                        Respectfully Submitted,
9                                        DANIEL J. BRODERICK
                                         Federal Defender
10
                                         /s/ Dennis S. Waks
11                                       Supervising Assistant
                                         Federal Defender
12                                       Attorney for Defendant
                                         SOMACHY KEO
13
     DATED:    December 10, 2008         /s/ Dennis S. Waks on behalf of
14                                       MICHAEL D. LONG
                                         Attorney for Defendant
15                                       SARET NOSAR
16   DATED:    December 10, 2008         /s/ Dennis S. Waks on behalf of
                                         EDWARD M. ROBINSON
17                                       Attorney for Defendant
                                         KANARY KHIN
18

19   DATED:    December 10, 2008         /s/ Dennis S. Waks on behalf of
                                         ROBERT S. ERNENWEIN
20                                       Attorney for Defendant
                                         SEAN EANG
21

22   DATED:    December 10, 2008         /s/ Dennis S. Waks on behalf of
                                         CLARENCE E. MAHLE
23                                       Attorney for Defendant
                                         PANG YEAN
24   / / /
25   / / /
26   / / /
27   / / /
28   / / /

                                            2
              Case 2:08-cr-00512-JAM Document 27 Filed 12/12/08 Page 3 of 3


1    DATED:    December 10, 2008         McGREGOR W. SCOTT
                                         United States Attorney
2

3                                        /s/ Dennis S. Waks on behalf of
                                         BENJAMIN WAGNER
4                                        Assistant U.S. Attorney
5
     SO ORDERED.
6

7    Dated: 12/11/2008
8                                        /s/ John A. Mendez
                                         JOHN A. MENDEZ
9                                        United States District Court Judge
10

11

12

13

14

15

16

17

18

19

20

21

22

23

24

25

26

27

28

                                            3
